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 6   Attorney for Plaintiffs and Putative Class
 7                        UNITED STATES DISTRICT COURT
                        NORTHERN DISTRICT OF CALIFORNIA
 8                              SAN JOSE DIVISION
 9
     Deborah Howington, James Perry,
                                                     Case No. 5:24-cv-5684-VKD
10   Elena Huizar, Lacey Bostick, Modupe
     Adesemoye, Marc Popisteanu, Nicole              NOTICE OF CONSENT TO FILE
11
     Carrier, Michael Winn, Edward                   SECOND AMENDED COMPLAINT
12   McKinley, Wendy Lara Prieto, Luis               ADDING TITLE VII CLAIMS ON
     Zepeda, Phillip Sterbinsky, Samuel              BEHALF OF CERTAIN
13
     Langley, Kevin Driggs, Michelle                 PLAINTIFFS
14   Bernardo, Victoria Teixeria, Antonio
     Fisher, Jyni Wyse, Marcus Hernandez,
15
     Hunter Haley, Mark Lindley, Terrence
16   Holmes, David Amiri, Alex Vonica,
     Kerrick Brookins, Ronald Bruner,
17
     Rosalie Kitagawa, and Cody Block,
18

19                       Plaintiffs,
            v.
20

21
     Taiwan Semiconductor Manufacturing
22   Co. Ltd., TSMC North America, TSMC
     Technology, Inc., TSMC Arizona
23
     Corporation and TSMC Washington,
24   LLC,
25
                         Defendants.
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                                                  1
                                        NOTICE OF CONSENT
        Case 5:24-cv-05684-VKD     Document 74      Filed 06/30/25   Page 2 of 2




 1         Plaintiffs hereby provide notice that, pursuant to Fed. R. Civ. P. 15(a)(2),
 2
     Defendants have consented, in writing, to amendment of the concurrently filed Second
 3

 4   Amended Complaint, allowing the following amendments to the pleading: (1) adding

 5   Title VII claims on behalf of Plaintiffs Michelle Bernardo, Victoria Teixeira, Antonio
 6
     Fisher, Jyni Wyse, Marcus Hernandez, Mark Lindley, Terrence Holmes, David Amiri,
 7

 8   and Rosalie Kitagawa who exhausted their Title VII administrative remedies during

 9   the pendency of Plaintiffs’ Motion for Leave to Amend (Dkt. 37) by filing Charges of
10
     Discrimination with the Equal Employment Opportunity Commission against TSMC,
11

12   and receiving a Notice of Right to Sue; and (2) changing the references to “Mr. Joy”

13   to “Ms. Joy” in Paragraphs 296, 297, and 298 of the Second Amended Complaint.
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16   DATED: June 30, 2025                          Respectfully submitted,
17                                                 By: /s/Daniel Low
18                                                 Daniel Low, SBN 218387
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22
                                                   Attorney for Plaintiffs and Putative
23                                                 Classes
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                                               2
                                     NOTICE OF CONSENT
